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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAF i
                                 DEL RIO DIVISION          I                           L          D
   ALEJANDRO GOMEZ NUNES,                         §                              AUG
                                                                      CLRc                 ZOjg
       Detainee, Uvalde Border Patrol             §
       Station By His Next Friend;                §
                                                  §
   LADY VANESSA MORENO                            §
   NOLASCO,                                       §
       Petitioner, As Next Friend of              §
       Alejandro Gomez Nunes,                     §
                                                  §
   v.                                             §         Civil Action No. DR-19-CV-42-AM
                                                  §
   KEVIN K. MCALEENAN, Acting                     §
   Secretary, United States Department            §
   of Homeland Security; MARK                     §
   MORGAN, Acting Commissioner,                   §
   United States Customs and Border               §
   Protection; FELIX CHAVEZ, Chief                §
   Border Patrol Agent, Del Rio Sector;           §
   CESAR ESCAJEDA, Chief Border                   §
   Patrol Agent, Uvalde Station,                  §
         Respondents.                             §




        Pending before the Court is the Petitioner's Petition for Writ of Habeas Corpus. (ECF No.

1.) The Petitioner requests that this Court "[i]ssue the writ         of habeas corpus and order the

Respondents to show cause within three days of filing this petition, why the relief Petitioner seeks

should not be granted;. . ." (Id. at 13.) Pursuant to 28 U.S.C.   §   2243, "[a] court.    . .   entertaining

an application for a writ of habeas corpus shall forthwith award the writ or issue an order directing

the respondent to show cause why the writ should not be granted.         . .   ." Further, "[t]he writ, or

order to show cause.. . shall be returned within three days unless for good cause additional time,

not exceeding twenty days, is allowed."
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       Upon review of the Petitioner's request, the Court hereby ORDERS that the Respondents

show cause as to why the Detainee, ALEJANDRO GOMEZ NUNES, has not been placed in a

long-term detention facility pending either criminal or administrative removal proceedings, within

three days of the issuance of this Order.

       SIGNED on this            'day of August, 2019.




                                             United States District Judge




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